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January 19, 2020 ave to file GRANTED
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Amy &. Jackson Date
United States District Judge

District Judge Amy Berman Jackson

The U.S. District Court for the District of Columbia
333 Constitution Avenue N.W.

Washington D.C. 20001

Re: United States v. Roger Stone
Case No. 1:19-cr-00018-ABJ

Dear Judge Jackson:

The purpose of my letter is to bring to your attention a side of Mr. Stone that is not well
known. In 1973, while advising President Nixon, Roger Stone helped save the State of Israel
from what some say was total annihilation by Syria and Egypt during the Yom Kippur War. The
Syrians crossed the border and advanced to within 4 hours from Haifa. The Egyptians crossed
the Suez Canal and were rapidly advancing toward southern Israel. The situation was getting
worse as Israel’s armaments were being depleted hourly. Mr. Kissinger held up re-supplies
because he was in the midst of trying to negotiate a truce and was pressuring Israel for
concessions to please President Sadat of Egypt. Prime Minister Golda Meir called President
Nixon directly and conveyed to him the grave situation Israel was facing. Roger Stone
immediately sided with Nixon to send the weapons Israel needed.

Judge Jackson, my family arrived in 1830 to help and re-build the home for the Jewish
people. We are part of the first 50 families that help build the modern state of Israel. The Library
of Congress recognized our contribution to Israel. Politics was always discussed in my
grandfather’s house and in our home. I learned early in my life that politics certainly has the
ability to turns good people into bad.

The jury has spoken, the Government got their pound of flesh, and Roger Stone will forever walk
with a dark cloud hanging above his head, however Roger Stone is not a malicious man. His
action in 1973 clearly showed that he is a compassionate man. My family and I will be forever
grateful to him for standing along side President Nixon and save Israel from destruction.

Please find compassion and afford Roger Stone all possible discretion when pronouncing
your ruling at sentencing.

Respectfully,

    
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Hebrew Press Returns to the Holy Land - Judaic Treasures 1/20/20, 9:36 AM

The Beek of the Peepie of le:
Hebrew Press neturns te the Holy.

As we have noted, Hebrew printing in the Holy Land began in Safed in 1577. Six books
decline of the flourishing Jewish community of that city of scholars and mystics. in the
last decades of the eighteenth century and the first of the nineteenth, a small migration
restored to this Galilean city some of its earlier spiritual luster. Among those who
arrived in their wake was one Israel Bak who came an 1831. In his native city, Berdichev

book contains some of the Kavanot (mystical statements of intentions of worship) of
Safed's greatest luminary, Isaac Luria, and further assures that all of the workers
engaged in this holy endeavour are pious Jews, and that prayers recited from a book
printed in this holy city would be most efficacious. This was followed in 1833 PY the Book

Muhammad Ali in 1834, in which Bak's press was destroyed and Bak himself was
wounded. More likely a Leviticus was published, the first of a projected five- volume

spring, when the Book of Leviticus was being read in the synagogue, and it made good
sense to synchronize Bible study in the school with Bible reading in the synagogue.

 

https://www.Jewishvirtuallibrary.org/hebrew-press-returns-to-the-holy-land-judaic-treasures Page 1 of 3
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Hebrew Pi‘ess Returns to the Holy Land - Judaic Treasures 1/20/20, 9:36 AM

 

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After a hiatus of 246 years, Israel Bak reestablished the Hebrew
press in Eretz Yisrael, and he, like his predecessor, chose the city
of Safed. His first published work, in 1832, was a Sefardi prayer
book, the second, the Book of Leviticus, the first printing of a
book of the Bible in the Holy Land. The title page describes the
contents and the enterprise:

The Book of Leviticus, the third of the Five Books of the Torah
with the commentary of Rashi, Ba‘al ha-Turim (Jacob ben Asher),
Siftei Hahamim (the Lips of the Wise) and ... on the Haftarot and
the Five Scrolls by the illustrious godly man, Hayim Yosef David
Azulai ... printed by the eminent and wise Israel Bak ... of
Berditchev. Here in Upper Galilee, in the holy city, Safed ... under
the sovereignty of the noble Mohammed Ali Basha (1833) (Hebraic

Section, Library of Congress Photo)

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Hebrew Press Returns to the Holy Land - Judaic Treasures 1/20/20, 9:36 AM

Bak turned to agriculture but continued printing, even after the earthquake of 1837
devastated his shop. The Druze revolt in 1838 destroyed both his farm and press, and

Hebrew press in jerusalem.

Among the many early Jerusalem imprints, the Library contains a fine copy of the rare
Sefer Hatakanot ... (The Book of Ordinances and Enactments and Customs ... of the Holy
City, Jerusalem), 1842. It was the second book printed there, but was the first in
importance as the single most valuable source book for Jewish religious and communal
life in that city. For thirty-three years, Bak continued to print books in Jerusalem, some
130 volumes in all, but he never completed the Pentateuch edition he had faunched in
Safed in 1833.

Sources:

Abraham J. Karp, From the Ends of the Earth: Judaic Treasures of the Library of Congress,
(DC: Library of Congress| 1991).

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